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                                UNITED STATES DISTRICT
                              COURT NORTHERN DISTRICT OF
                               ILLINOIS EASTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
Plaintiff,                                      )
                                                )
                                V.              )       No. 21CR505
TANGTANG ZHAO,                                  )
                                                )
Defendant.                                      )

                                      MOTIONS IN LIMINE

    NOW COMES, the Defendant, Tangtang Zhao, by and through his attorneys, Gal

 Pissetzky and Jennifer Snyder, and respectfully files the following motions In Limine:

    I.       Motion To Compel The Government To Turn Over Grand Jury Transcripts

    Mr. Zhao was indicted by a Grand Jury after FBI Agent Reinbandt was called to testify on

behalf of the government and was the sole witness presented to the Grand Jury. Based solely on

the Agent’s testimony, the Grand Jury returned a Bill of Indictment. This matter is now set for trial

on June 20, 2023, and the government has yet to turn over the Grand Jury transcripts. Although

the government informed counsel that it does not intend to call Agent Reinbandt to testify at trial,

that decision does not preclude Mr. Zhao from calling her to testify. In order to determine whether

to call Agent Reinbandt, Mr. Zhao must be able to review her testimony before the Grand Jury to

be able to assess her credibility and other issues that may arise if called to testify.

          The Grand Jury testimony undoubtably contains allegations of statements made by Mr.

Zhao, as well as statements made by other individuals that the government intends to call as

witnesses. Moreover, it is believed to contain testimony that would negate the government’s claim

that the vaccine cards were government property as alleged in the Indictment.




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   II.      Motion To Bar Dr. Bijan Salehizadeh’s Testimony

   The government informed counsel that it intends to call Dr. Salehizadeh as a witness. Dr.

Salehizadeh is an individual that bought an alleged COVD-19 vaccination card on ebay from Mr.

Zhao, but he is not one of the buyers alleged in the Indictment. In fact, Dr. Salehizadeh bought the

card in order to conduct his own investigation into the sale of vaccination cards, and when he

completed his investigation, he contacted a Washington Post reporter that eventually wrote a very

detailed article about Mr. Zhao.

   Dr. Salehizadeh’s testimony should be barred for a few reasons. First, his testimony is not

relevant to the charged offense, and if it is, it would be unnecessarily cumulative. The Indictment

lists 12 specific counts, and each count names a buyer. Among other elements, to prove the charges

against Mr. Zhao the government must establish that he sold the cards to each specific buyer named

in each Count. Dr. Salehizadeh’s testimony will not assist the jury in determining whether Mr.

Zhao is guilty of the charged offenses. Second, if the jury learns that Dr. Salehizadeh is a medical

doctor that bought a vaccination card not because he wanted to have one, but because he wanted

to expose the person that was selling it, his testimony will be extremely prejudicial. The

government specifically intends to call Dr. Salehizadeh to testify over any of the other buyers

because a jury would consider the testimony from a medical professional about the purchase of

the vaccination cards much more convincing and authoritative than testimony from any one of the

other buyers. Finally, if the court allows Dr. Salehizadeh’s testimony, Mr. Zhao would request that

Dr. Salehizadeh not be allowed to tell the jury that he is a doctor and only testify about his action

of buying the alleged card. Dr. Salehizadeh should be barred from testifying about the reasons he

bought the card, the investigation he conducted, and his communications with the newspaper

reporter.




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                                           Respectfully Submitted,

                                           /s/ Gal Pissetzky
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                                CERTIFICATE OF SERVICE

   The undersigned, Gal Pissetzky, hereby certifies that in accordance with Fed.R.Crim.P. 49,
Fed.R.Civ.P. 5, and the General Order on Electronic Case Filing (ECF), the attached Motions In
Limine was served on May 31, 2023, pursuant to the district court’s ECF filers.


                                                   spectfully submitted,

                                                   /s/Gal Pissetzky___________
                                                   Gal Pissetzky




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